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uNlTEo sTATEs oF AMERicA, ) '
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Plaimifr, )
)
vs. ) CR. No. 05-20055-01-Ma 1/
) 05-20177-04-Ma
TAvARis BooTHE, )
)
Defendant. )

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 26, 2005. Counsel forthe defendant
requested a continuance of the present trial date of August ‘l, 2005 in order to allow for
additional preparation in the case.

The Court granted the request and continued the trial date to October 3, 2005 at

9:30 a.m., with a re ort date of Frida Se tember 23 2005 at 2:00 .m.

 

The period from August 12, 2005 through October14, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the interests of justice in allowing additional time to
prepare outweigh the need for a speedy tria|.

lT IS SO ORDERED this 2a M\ day of Ju|y, 2005.
JAW%_

SAN|UEL H. N|AYS, JR.
UN|TED STATES DlSTRlCT JUDGE

 

Thls doctment entered on the docket sheet fn ompli nce
with note 55 and/m sam Fech on leié£§é__ 3 g_/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20055 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

